:‘E§,Q;a?°*“-°?i§;%'§%”§-Q;QQY@%DED*ESJYQ,CUH?QN 1665'2 155\!§.iz!§d..--QB'./.J_LBZAZOU

 

z..?¢f/xr/é 699 5¢¢ W::.c‘ W;;’
.T?éZ/£; fgs/yin (J;)_'f/j¢¢ nrc;)é?(z’

r”"’z’ /@7"~‘~“5 f~€”/W; ~<"`;K"W
W@ ~é; Am.;z;

1b VSn
`, - … _ /§'Z‘:? OC?z/H/N QVJEU

f/z’raf?j¢:_f% ¢?s% °'*/”éz§?d
'-'»¢z< fw vw
./WW Z'f”-*‘”‘"W 7 “'”""'*K»

 

